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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO
                                ___________________________


UNITED STATES OF AMERICA,

               Plaintiff,

       vs.                                                                    1:19-cr-01991 KWR

ANTONIO CARRILLO,

               Defendant.


                            MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court upon Defendant’s Motion to Dismiss Indictment,

filed December 13, 2019 (Doc. 45). Having reviewed the parties’ pleadings and exhibits, the Court

finds that Defendant’s motion is not well-taken and, therefore, is DENIED.

                                        BACKGROUND

       On July 9, 2019, the Grand Jury returned an indictment charging Defendant with one count

of transmitting in interstate or foreign commerce a communication containing any threat to kidnap

any person or any threat to injure the person of another, in violation of 18 U.S.C. § 875(c).

       The indictment provides:

        On or about June 19, 2019, in Valencia County, in the District of New Mexico, the
       defendant, ANTONIO CARRILLO, knowingly and willfully did transmit in
       interstate commerce via Facebook, and interstate social media company, a
       communication, specifically a social media post, to the American Civil Liberties
       Union, and the communication contained a threat to injure American Civil Liberties
       Union Personnel.

Doc. 10. The alleged threat was posted as a comment on a Facebook threat, and reads as

follows:
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        “You Bitches Want a Physical Civil War.. I’m Game..I’ll bring My Farm
        Implements and They will Never find your Bodies..AND for Fun I’ll BURN
        Every ACLU Office in the State.. GO TRUMP GO.!”

Doc. 3 at 6 (complaint). Defendant also allegedly made the following post on Twitter

publicly directed to @realDonaldTrump:

        “@realDonaldTrump, YOU Say YOU are going to DEPORT Thousands.. People
        are Saying,; I’LL believe it when I see it..Personally When Civil War Starts.. I’m
        Going to Burn Down EVERY ACLU Office in New Mexico.”

Doc. 3 at 6. The indictment charges Defendant for the Facebook post, but not the Twitter

post.

                                           DISCUSSION

I.      Indictment is Sufficient to Apprise Defendant of the Essential Elements.

        Defendant argues that the indictment is insufficient, because it omits an element of the

crime charged. Pursuant to Federal Rule of Criminal Procedure 12(b)(3), a motion may raise “a

defect in the indictment or information, including . . . failure to state an offense.” Id. at

12(b)(3)(B)(5).

        “An indictment is sufficient if it sets forth the elements of the offense charged, puts the

defendant on fair notice of the charges against which he must defend, and enables the defendant

to assert a double jeopardy defense.” United States v. Todd, 446 F.3d 1062, 1067 (10th Cir. 2006)

(quoting United States v. Dashney, 117 F.3d 1197, 1205 (10th Cir. 1997)). If those three standards

are met, then the indictment “need not go further and allege in detail the factual proof that will be

relied upon to support the charges.” United States v. Doe, 572 F.3d 1162, 1173–74 (10th Cir. 2009)

(quoting United States v. Redcorn, 528 F.3d 727, 733 (10th Cir. 2008)). The indictment need only

“quote[ ] the language of a statute and include[ ] the date, place, and nature of illegal activity.” Id.




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       Section 875(c) prohibits certain threats to injure in interstate commerce. Because the First

Amendment rights may potentially be at issue, the United States Supreme Court has added an

additional element to the statute: the threat must be a true threat. A true threat is a statement

“where the speaker means to communicate a serious expression of an intent to commit an act of

unlawful violence to a particular individual or group of individuals.” Virginia v. Black, 538 U.S.

343, 359 (2003). “[T]he government must prove the defendant transmitted the communication for

the purpose of issuing a threat or with knowledge the communication would be viewed as a threat.”

United States v. Stevens, 881 F.3d 1249, 1253 (10th Cir.), cert. denied, 139 S. Ct. 353, 202 L. Ed.

2d 249 (2018), citing Elonis v. United States, ––– U.S. ––––, 135 S.Ct. 2001, 192 L.Ed.2d 1 (2015).

Although the Defendant must intend that the recipient feel threatened, the Defendant need not

intend to carry out the threat. Stevens, 881 F.3d at 1253.

       The Court finds that the indictment sufficiently apprises Defendant that he is charged with

making a true threat. The indictment provides that Defendant knowingly and willfully transmitted

a communication containing a threat to injure ACLU personnel. See, e.g., United States v. Nissen,

No. CR 19-0077 JB, 2020 WL 108488, at *12 (D.N.M. Jan. 9, 2020) (finding that 875(c)

indictment with similar language as here sufficient to apprise defendant of elements of the offense);

see also United States v. Stevens, 4:16-cr-134-CVE, Doc. 16, (N.D. Okla.) (indictment provided

that defendant… “transmitted communications in interstate commerce… that contained the threats

as described in the table below to injure law enforcement…” ), affirmed, United States v. Stevens,

881 F.3d 1249, 1252 (10th Cir.), cert. denied, 139 S. Ct. 353, 202 L. Ed. 2d 249 (2018). This

indictment language sufficiently states the true threat element. Moreover, the indictment tracks

the language of § 875(c). Under these circumstances, there is no question that Defendant was

apprised of the crime charged against him and the elements of the crime.



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        The Court notes that Defendant cites to cases where the district court failed to properly

instruct the jury about the true threat element. The Court understands that the jury must be so

instructed and will follow the relevant Tenth Circuit and United States Supreme Court law. See

10th Cir. Pattern Jury Instructions § 2.37.1 (Feb. 2018) (incorporating true threat requirements of

Elonis v. United States and Virginia v. Black, 538 U.S. 343, 359 (2003)).

II.     A Reasonable Jury Could Conclude that Defendant made a True Threat.

        Defendant argues that his Facebook post is protected by the First Amendment and was

mere hyperbolic political speech.

        True threats are not protected by the First Amendment. Stevens, 881 F.3d at 1253.

Generally, at this stage, the Court inquires whether a reasonable jury could conclude that

Defendant issued a true threat. Id. “[I]f there is no question that a defendant's speech is protected

by the First Amendment, the court may dismiss the charge as a matter of law.” United States v.

Wheeler, 776 F.3d 736, 742 (10th Cir. 2015) (quotations and citations omitted); see also United

States v. Viefhaus, 168 F.3d 392, 397 (10th Cir. 1999) (whether a statement amounts to a true

threat is a question for the fact finder).

        However, “absent an unusual set of facts, the question whether statements amount to true

threats is a question generally best left to a jury.” Wheeler, 776 F.3d 736, 742 (quotations and

citations omitted). “If the court determines a reasonable jury could find that the [ ]

communication[s] constitute[ ] ... true threat[s], then it may deny the defendant's motion to

dismiss.” United States v. Stevens, 881 F.3d at 1252, quoting in part United States v. Stock, 728

F.3d 287, 298 (3d Cir. 2013).

        Moreover, whether a defendant’s speech “is a true threat or mere political speech is a

question for the jury.” Wheeler, 776 F.3d at 742 (quoting Viefhaus, 168 F.3d at 397); Stevens, 881



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F.3d at 1252. A court may dismiss the charges against a defendant “[i]f there is no question that a

defendant's speech is protected by the First Amendment.” Id.

       Here, a reasonable jury could conclude that Defendant communicated a true threat.

Defendant stated: “You Bitches Want a Physical Civil War.. I’m Game..I’ll bring My Farm

Implements and They will Never find your Bodies..AND for Fun I’ll BURN Every ACLU Office

in the State.. GO TRUMP GO.!” Doc. 3. Specifically, a reasonable jury could conclude that

Defendant intended ACLU personnel to feel threatened, or he knew that by posting the comment

ACLU personnel would view it as a threat of injury. Elonis v. United States, ––– U.S. ––––, 135

S. Ct. 2001, 2012 (“[T]he mental state requirement in Section 875(c) is satisfied if the defendant

transmits a communication for the purpose of issuing a threat, or with knowledge that the

communication will be viewed as a threat.”).

       Defendant argues that his comment was mere political speech. Defendant’s message

contained political speech, including reference to apparent political discourse regarding a “civil

war”, and ending his message with “GO TRUMP GO.” However, that political speech does not

shield Defendant from culpability from the true threats otherwise contained in his message.

Stevens, 881 F.3d at 1256 (“As we said in Viefhaus, even if a specific threat accompanies pure

political speech[, this] does not shield a defendant from culpability.”). Therefore, the Court cannot

say that there is “no question” that Defendant’s comment is protected by the First Amendment.

Wheeler, 776 F.3d at 742, quoting Viefhaus, 168 F.3d at 397.

       Defendant argues that he only posted the message on Facebook and did not specifically

send the message to ACLU personnel. While Defendant posted his message on Facebook, he

specifically targeted ACLU personnel in New Mexico. Under these circumstances, a “rational

juror, considering the language and context of these posts could consider them to be true threats



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because they directed specific, deadly action against a number of individuals.” Stevens, 881 F.3d

at 1255, quoting Wheeler, 776 F.3d at 742 (concluding that rational jury could find that Facebook

posts urging followers to “kill cops” were true threats).

III.     Overbreadth and Vagueness Arguments are Forfeited.

         Defendant summarily argues that 18 U.S.C. § 875(c) is overbroad and vague. Defendant’s

motion fails to include any analysis or case law on these complex doctrines. See Doc. 45, p. 12 of

13. Therefore, the Court concludes that Defendant has forfeited these arguments. United States

v. Elliott, 684 F. App'x 685, 687 (10th Cir. 2017) (“Forfeiture occurs when the appellant fails to

timely and adequately present the argument in district court.”), citing United States v. Olano, 507

U.S. 725, 733, 113 S.Ct. 1770, 123 L.Ed.2d 508 (1993).

         Forfeiture is particularly applicable here because these facial challenges should only be

adjudicated sparingly and as a last resort. See, e.g., United States v. Brune, 767 F.3d 1009, 1019

(10th Cir. 2014) (facial challenges are disfavored and should be used sparingly and only as a last

resort). Therefore, the Court is not prepared, at this time, to declare the statute overbroad and

vague.

         IT IS THEREFORE ORDERED that Defendant’s Motion to Dismiss Indictment (Doc.

45) is DENIED for reasons described in this Memorandum Opinion and Order.




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                                              KEA W. RIGGS
                                              United States District Judge




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